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                 EXHIBIT 1




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-190-DLF
               v.                             :
                                              :
ZACHARY JORDAN ALAM,                          :
                                              :
                       Defendant.             :

                            JOINT STATEMENT OF THE CASE

       The government has charged the defendant, Zachary Jordan Alam, with eleven crimes

relating to the riot at the United States Capitol on January 6, 2021. More specifically, he is

charged with assaulting or interfering with U.S. Capitol Police officers; with using a deadly or

dangerous weapon to assault or interfere with U.S. Capitol Police officers; and with obstructing

or interfering with U.S. Capitol Police officers during a civil disorder. He is further charged with

destroying government property and obstructing an official proceeding. He is further charged

with unlawfully entering and remaining, engaging in disorderly and disruptive conduct, and

engaging in an act of physical violence against person or property, all with a deadly and

dangerous weapon, while inside the U.S. Capitol building. And finally, he is charged with

unlawfully parading, demonstrating, and picketing while inside the U.S. Capitol building.

       Mr. Alam denies each charge.
